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                             IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE SOUTHERN DISTRICT OF TEXAS                                               ENTERED
                                                                                                                06/10/2020
                                        HOUSTON DIVISION

                                                           §
    In re:                                                 §      Chapter 11
                                                           §
    BUZZARDS BENCH, LLC and                                §      Case No. 20-32391-11
    BUZZARDS BENCH HOLDINGS, LLC,                          §
                                                           §      Jointly Administered
                         1
              Debtors.                                     §
                                                           §

        ORDER APPROVING CONTINUATION OF THE SURETY BOND PROGRAM
                          [Relates to Docket. No. 68]

             Upon the motion (the “Motion”) 2 of the above-captioned debtors and debtors in possession

(collectively, the “Debtors”) for entry of an order (this “Order”) authorizing the Debtors to

maintain, renew, and modify their Surety Bond Program—including, but not limited to, the

procurement of new sureties and maintenance of collateral—in the ordinary course of business on

a post-petition basis and to pay outstanding prepetition amounts, if any, as of the Petition Date, all

as more fully set forth in the Motion; and this Court having jurisdiction over this matter pursuant

to 28 U.S.C. § 1334; this Court having found that this is a core proceeding pursuant to 28 U.S.C.

§ 157(b)(2); and this Court having found that it may enter a final order consistent with Article III

of the United States Constitution; and this Court having found that venue of this proceeding and

the Motion in this district is proper pursuant to 28 U.S.C. §§ 1408 and 1409; and this Court having

found that the relief requested in the Motion is in the best interests of the Debtors’ estates, their

creditors, and other parties in interest; and this Court having found that the Debtors’ notice of the

Motion and opportunity for a hearing on the Motion were appropriate under the circumstances and


1
 The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number are: Buzzards Bench, LLC (7898) and Buzzards Bench Holdings, LLC (4637).
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    Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Motion.

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no other notice need be provided; and this Court having reviewed the Motion and having heard the

statements in support of the relief requested therein at a hearing before this Court (the “Hearing”);

and this Court having determined that the legal and factual bases set forth in the Motion and at the

Hearing establish just cause for the relief granted herein; and upon all of the proceedings had

before this Court; and after due deliberation and sufficient cause appearing therefor, it is HEREBY

ORDERED THAT:

           1.      The Motion is granted as set forth herein.

           2.      Subject to the terms of this Order, the Debtors are authorized, but not directed,

 to maintain the Surety Bond Program without interruption, including, but not limited to, paying

 any pre-petition or post-petition premiums, Broker Fees, or amounts owed, if any, in connection

 with the Indemnity, renewing or obtaining new surety bonds, and executing other agreements in

 connection with the Surety Bond Program.

         3.        Subject to the terms of this Order, the Debtors are authorized, but not directed, to

continue to perform under the Indemnity and modify the Surety Bond Program post-petition in the

ordinary course of business, including, but not limited to, procuring sureties or providing or

maintaining cash or other acceptable forms of collateral to secure the surety bonds, renewing or

obtaining new surety bonds, and executing other agreements in connection with the Surety Bond

Program. The Debtors are not authorized by this Order to take any action with respect to a Surety

Bond or the Indemnity that would have the effect of transforming a pre-petition undersecured or

unsecured Surety Bond obligation or obligation under the Indemnity to a post-petition or secured

obligation. Such relief may be sought by a separate motion.

         4.        The Debtors shall maintain a matrix or schedule of payments related to any

amounts paid pursuant to this Order, including the following information: (a) the names of the



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payee; (b) the amount of the payment; (c) the nature of the payment; (d) the Debtor or Debtors that

made the payment; (e) the payment date; and (f) the purpose of such payment. The Debtors shall

provide a copy of such matrix or schedule to the U.S. Trustee, Debtors’ lender, and any statutory

committee appointed in these chapter 11 cases after the first payment authorized by this Order is

made and every 30 days thereafter.

         5.        The banks and financial institutions on which checks were drawn or electronic

fund transfer requests made in payment of the prepetition obligations approved herein are

authorized to receive, process, honor, and pay all such checks and electronic fund transfer requests

when presented for payment, and all such banks and financial institutions are authorized to rely on

the Debtors’ designation of any particular check or electronic fund transfer requests as approved

by this Order.

         6.        Notwithstanding the relief granted in this Order and any actions taken pursuant to

such relief, nothing in this Order shall be deemed: (a) an admission as to the amount of, basis for,

or validity of any claim against a Debtor under the Bankruptcy Code or other applicable

nonbankruptcy law; (b) a waiver of the Debtors’ or any other party in interest’s right to dispute

any claim on any grounds; (c) a promise or requirement to pay any claim; (d) an implication or

admission that any particular claim is of a type specified or defined in the Motion or any order

granting the relief requested by the Motion or any order granting the relief requested by the Motion

or a finding that any particular claim is an administrative expense claim or other priority claim; (e)

a request or authorization to assume, adopt, or reject any agreement, contract, or lease pursuant to

section 365 of the Bankruptcy Code; (f) an admission as to the validity, priority, enforceability, or

perfection of any lien on, security interest in, or other encumbrance on property of the Debtors’

estates; (g) a waiver or limitation of the Debtors’, or any other party in interest’s, rights under the



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Bankruptcy Code or any other applicable law; or (h) a concession by the Debtors that any liens

(contractual, common law, statutory, or otherwise) that may be satisfied pursuant to the relief

requested in this Motion are valid, and the rights of all parties in interest are expressly reserved to

contest the extent, validity, or perfection or seek avoidance of all such liens.

         7.        The Debtors are authorized to issue post-petition checks, or to effect post-petition

fund transfer requests, in replacement of any checks or fund transfer requests that are dishonored

as a consequence of these chapter 11 cases with respect to prepetition amounts owed in connection

with any Surety Bond Program.

         8.        Notwithstanding anything herein to the contrary, all payments authorized by this

Order are subject to (i) the Interim and Final Orders 3 authorizing the use of cash collateral entered

in these cases, (ii) the approved budget (as defined in the Interim and Final Orders and any other

budget approved by the Court) and such variances to the Approved Budget as permitted in those

orders, or (iii) any other order entered in these cases authorizing the use of cash collateral or

approving debtor-in-possession financing. To the extent there is any inconsistency between the

terms of such orders and any action taken or proposed to be taken hereunder, the terms of such

orders shall control.

         9.        Notice of the Motion satisfies the requirements of Bankruptcy Rule 6004(a) and

the Local Rules are satisfied by such notice.

         10.       Nothing in this Order authorizes the Debtors to accelerate any payments not

otherwise due.




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 As those terms are defined in the Emergency Motion for (A) Interim ad Final Orders Authorizing Use of Cash
Collateral Pursuant to Section 363(c) and (B) Scheduling a Final Hearing Pursuant to Bankruptcy Rule 4001 (the
“Cash Collateral Motion”) [Docket No. 8].

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         11.       Notwithstanding Bankruptcy Rule 6004(h), the terms and conditions of this Order

are immediately effective and enforceable upon its entry.

         12.       The Debtors are authorized to take all actions necessary to effectuate the relief

granted in this Order in accordance with the Motion.

         13.       This Court retains exclusive jurisdiction with respect to all matters arising from or

related to the implementation, interpretation, and enforcement of this Order.

  Signed:            , 2020
    Signed: June 10, 2020.

                                                   ____________________________________
                                                 DAVID R. JONES
                                                   DAVID R. JONESBANKRUPTCY JUDGE
                                                 UNITED STATES
                                                    UNITED STATES BANKRUPTCY JUDGE




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                                     EXHIBIT 1

                                    Surety Bonds




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                                                          Surety Bond Schedule

       Bond (Benefit of)           Type of   Bond Number             $                            Purpose                      Annual Renewal
                                    bond                                                                                           Cost $


Utah Department of Oil Gas        Surety     SUR0053890          $120,000.00    Plugging and Abandonment (Statewide)                 $2,100.00
and Mining


Bureau of Land Management         Surety     UTB000897            $25,000.00    Plugging and Abandonment (Statewide)                   $438.00


School and Institutional Trust    Surety     SUR0053889           $50,000.00    Plugging and Abandonment and Surface                   $875.00
Lands                                                                           Reclamation for the Huntington Unit Project
                                                                                Area.


School and Institutional Trust    Surety     SUR0053887           $15,000.00    Plugging and Abandonment (Statewide)                   $263.00
Lands


Performance Bond                  Surety     SUR0053868         $3,000,000.00   P&A associated with the XTO acquisition (50%        $52,500.00
                                                                                collateral at Texas Capital Bank)


Utah Department of Oil Gas        Surety     SUR0054519          $250,000.00    $250K UTDOGM Blkt Bond, additional bonding           $4,375.00
and Mining
